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 1    James A. Dumas (SBN 76284)
 2    Christian T. Kim (SBN 231017)
      DUMAS & KIM, APC.
 3    915 Wilshire Blvd., Suite 1775
      Los Angeles, California 90017
 4    Email: jdumas@dumas-law.com;
 5    ckim@dumas-law.com
      Phone: 213-368-5000
 6    Fax: 213-368-5009
 7    Counsel for Creditor and Plaintiff
      ACCLAIM RECOVERY MANAGEMENT, LLC
 8
                                  UNITED STATES BANKRUPTCY COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
                                             SANTA ANA DIVISION
11
12
13                                                             Case No. 8:24-bk-10717-TA
      In re
14                                                             [Chapter 11]
15    HENRY GEORGE BRENNAN and LISA ANN                        Adversary No. 8:24-ap-01130-TA
      BRENNAN,
16                                                             [Honorable Theodor C. Albert]
17                     Debtors
                                                PROOF OF SERVICE OF SUMMONS &
      _________________________________________ NOTICE OF STATUS CONFERENCE;
18
                                                ADVERSARY PROCEEDING SHEET;
19    ACCLAIM RECOVERY MANAGEMENT, LLC, AND COMPLAINT OBJECTING TO
                                                THE DEBTORS’ DISCHARGE
20                                              (Bankruptcy Code subsections 727(a)(2)(B),
            Plaintiff,
21                        v.                    (a)(3), (a)(4)(A), and (a)(5) AND TO THE
                                                DISCHARGEABILITY OF DEBTORS’
22                                              DEBT TO PLAINTIFF (Bankruptcy Code
      HENRY GEORGE BRENNAN and LISA ANN         subsections 523(A)(2)(a), (A)(4), and (A)(6))
23    BRENNAN,
24
25            Defendants.
26
27
28




      Proof of service- SUMMONS & COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT PAGE 1
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    In re: Henry G. Brennan & Lisa A. Brennan (Acclaim Recovery v. Brennan)
                                                                                                   CHAPTER: 7

                                                                                                   CASE NUMBER: 8:24-bk-10717-TA
                                                                                      Debtor(s).
                                                                                                   ADV. CASE NUMBER: 8:24-ap-01130-TA



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 915
Wilshire Blvd., Ste. 1775, Los Angeles, CA 90017.
A true and correct copy of the foregoing document entitled (specify): Summons & Notice of Status Conference;
Adversary Proceeding Sheet; and Complaint Objecting to Discharge will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 9, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                          Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) October 4, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

M. Candice Bryner, Outwater & Pinckes, LLP
900 Roosevelt
Irvine, CA 92620

Craig G Margulies, Margulies Faith LLP
16030 Ventura Blvd Ste 470
Encino, CA 91436

Henry George Brennan
42 Pine Valley Ln
Newport Beach, CA 92660

Lisa Anne Brennan
49950 Jefferson St Unite #13
PMB 397
Indio, CA 92201
                                                                            Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 4, 2024, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
M. Candice Bryner Email: candice@brynerlaw.com
Craig G Margulies Email: Craig@MarguliesFaithlaw.com
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  October 9, 2024            Danielle M. Landeros                               /s/ Danielle M. Landeros
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
                                                                                 Henry George Brennan and Lisa Ann Brennan
  Acclaim Recovery Management, LLC.

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
 Dumas & Kim, APC. 915 Wilshire Blvd., Ste. 1775                                  MARGULIES FAITH, LLP Craig G. Margulies
 Los Angeles, CA 90017 Telephone: (213) 368-50000                                 16030 Ventura Blvd., Ste. 470 Encino, California 91436
                                                                                  Telephone: (818) 705-2777
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
□ Creditor  □ Other                                □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
   COMPLAINT OBJECTING TO THE DEBTORS’ DISCHARGE (Bankruptcy Code subsections 727(a)(2)(B), (a)(3), (a)(4)(A), and (a)(5)
   AND TO THE DISCHARGEABILITY OF DEBTORS’ DEBT TO PLAINTIFF (Bankruptcy Code subsections 523(A)(2)(a), (A)(4), and (A)(6)


                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□ 11-Recovery of money/property - §542 turnover of property                     □
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

□ 12-Recovery of money/property - §547 preference                               □
                                                                                   61-Dischargeability - §523(a)(5), domestic support

□ 13-Recovery of money/property - §548 fraudulent transfer                      □
                                                                                   68-Dischargeability - §523(a)(6), willful and malicious injury

□ 14-Recovery of money/property - other                                         □
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                □
                                                                                      (other than domestic support)

□ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                □ 71-Injunctive relief – imposition of stay
                                                                                FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property
    31-Approval of sale of property of estate and of a co-owner - §363(h)       □ 72-Injunctive relief – other
□ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                □ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



□ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                □ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



□ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              □
                                                                              FRBP 7001(10) Determination of Removed Action

□ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause


□ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny □ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
      actual fraud                                                            Other


                   (continued next column)                                    □ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                Demand $          According to Proof
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                           BANKRUPTCY CASE NO.
       Henry George Brennan & Lisa Ann Brennan             8:24-bk-10717-TA
DISTRICT IN WHICH CASE IS PENDING                        DIVISION OFFICE     NAME OF JUDGE
   Central District                                       Santa Ana Division Honorable Theodor C. Albert
                                RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                     ADVERSARY
                                                                             PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)



            /s/

DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)

     10/4/2024                                                            James A. Dumas


                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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      DUMAS & KIM, APC.
 3    915 Wilshire Blvd., Suite 1775
      Los Angeles, California 90017
 4    Email: jdumas@dumas-law.com;
 5    ckim@dumas-law.com
      Phone: 213-368-5000
 6    Fax: 213-368-5009
 7    Counsel for Creditor and Plaintiff
      ACCLAIM RECOVERY MANAGEMENT, LLC
 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                           SANTA ANA DIVISION
11
12
13
      In re
14                                                          Case No. 8:24-bk-10717-TA

15    HENRY GEORGE BRENNAN and LISA ANN                     [Chapter 11, Subchapter V]
      BRENNAN,
16                                                          Adversary No.

17                     Debtors                  [Honorable Theodor C. Albert]
      _________________________________________
18                                              COMPLAINT OBJECTING TO THE
                                                DEBTORS’ DISCHARGE (Bankruptcy
19    ACCLAIM RECOVERY MANAGEMENT, LLC, Code subsections 727(a)(2)(B), (a)(3),
20                                              (a)(4)(A), and (a)(5) AND TO THE
            Plaintiff,                          DISCHARGEABILITY OF DEBTORS’
21                        v.                    DEBT TO PLAINTIFF (Bankruptcy Code
22                                              subsections 523(A)(2)(a), (A)(4), and (A)(6))
      HENRY GEORGE BRENNAN and LISA ANN
23    BRENNAN,
24
25            Defendants.
26
27            COMES NOW creditor Acclaim Recovery Management, LLC, and as and for its Complaint

28    herein, complains and alleges as follows:




      COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT               PAGE 1
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 1                               I.    PARTIES AND JURISDICTION
 2           1.      Defendant Henry George Brennan, (“George”) is, and at all times relevant herein, an
 3    individual residing in the County of Orange, and is a debtor in the within bankruptcy.
 4           2.      Defendant Lisa Ann Brennan, (“Lisa”) is, and at all times relevant herein, an
 5    individual residing in the County of Riverside, and is a debtor in the within bankruptcy.
 6           3.      Plaintiff Acclaim Recovery Management, LLC (“Acclaim”) is a limited liability
 7    company organized under and existing pursuant to the laws of the State of Delaware.
 8           4.      The within bankruptcy case was commenced by the filing of a Chapter 11 petition on
 9    March 24, 2024. The petition was amended to make it a proceeding under Subchapter V of Chapter
10    11 on June 4, 2024.
11           5.      Pursuant to an order of this Court, the deadline for objecting to the debtor’s discharge
12    and to the dischargeability of the debt of the plaintiff herein has been extended to October 5, 2024.
13           6.      This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§
14    1334 and 157 because this is a civil proceeding arising in and/or related to the Debtors’ Chapter 11
15    case and is being is brought pursuant to a creditor’s right to object to the Debtors’ discharge
16    pursuant to the provisions of 11 U.S.C. § 727, and to seek a determination that its particular claim is
17    non-dischargeable pursuant to the provisions of 11 U.S.C. § 523.
18           7.      This is a core proceeding under 28 U.S.C. § 157(b)(2). Venue in the Central District
19    of California, Santa Ana Division, is proper pursuant to 28 U.S.C. § 1409(a) because the Debtors’
20    Chapter 11 bankruptcy case is pending in this district and division.
21
22                      II.     FACTS COMMON TO EACH CLAIM FOR RELIEF
23           8.      At all times relevant hereto, George and Lisa have been married, although in the
24    summer of 2023 they separated and are currently in marital dissolution proceedings.
25           9.      Throughout the relevant period, George has worked as a cosmetic surgeon through
26    his professional medical corporation, H. George Brennan, M.D., Inc. (“HGB Inc.”) which has had its
27    offices at 400 Newport Center Drive, Ste. 100, in Newport Beach.
28




      COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT                        PAGE 2
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 1           10.     Starting in 2002, George began operating a surgery center through the entity Newport
 2    Beach Center for Surgery, LLC (“NBCS”) at 400 Newport Center Drive, Ste. 102, the premises
 3    immediately adjacent to the HBG Inc. offices. At all times relevant, George served as the Managing
 4    Member of NBCS. Other physicians were also members of NBCS but their interests were a small
 5    fraction of the total ownership.
 6           11.     At all times relevant, NBCS operated as a multi-specialty outpatient surgery center
 7    where multiple physicians performed reconstructive plastic surgery, cosmetic surgery, podiatry,
 8    orthopedics, ENT, pain management, gynecology, neurosurgery, and spine surgery. It was staffed
 9    with registered nurses, board certified anesthesiologists, surgical technicians, and administrative
10    staff. NBCS was certified and accredited by the Accreditation Association for Ambulatory Health
11    Care (“AAAHC”). The surgery center premises could only be accessed through HBG Inc. offices
12    and were encompassed as part of the HBG, Inc. lease for Suite 100.
13           12.     Starting in 2016, for insurance billing purposes only, a second entity, Surgery Center
14    of Newport Beach, LLC (“SCNB”) also began to operate out of Suite 102. However, this entity was
15    likewise owned and controlled by George and the same physicians, including George, performed
16    surgeries there. Money was transferred between SCNB and NBCS as if they were the same business.
17    At all times relevant, George was the managing member of SCNB.
18           13.     In 2019, for reasons to be discussed below, the operations and assets of NBCS and
19    SCNB were transferred to Newport Multi-Specialty Surgery Center, LLC (“NMSSC”) and Newport
20    Surgery Center (“NSC”), entities alleged owned by Lisa and a partner, with Lisa allegedly owning
21    51%. Plaintiff is informed and believes that in fact Lisa had complete ownership and control of both
22    entities. NMSSC and NSC assumed occupation of Suite 102 by reason of the HBG lease. George
23    served as the medical director of NMSSC and NSC. Again, the two entities were used for what was
24    in fact just one business solely for insurance billings purposes. Money was transferred between
25    SCNB and NBCS as if they were the same business.
26           14.     At all times relevant, and until their 2023 separation, Lisa worked for HGB Inc.,
27    serving as its business/office manager and plaintiff is informed and believes that she is also managed
28    NBCS, SCNB, NMSSC, and NSC, as well as the debtors’ personal finances.




      COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT                           PAGE 3
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 1           15.     On April 4, 2018, Acclaim obtained a California Superor Court judgment against
 2    NBCS (the “Acclaim Judgment”). On July 6, 2018, the Acclaim Judgment was amended so that it
 3    was in the total principal sum of $369,676.75. The judgment has since earned interest at the
 4    California statutory rate of 10% per annum.
 5           16.     Acclaim was not the only party that was asserting claims and/or had obtained a
 6    judgment against NBCS. The balance sheet for NBCS as of January 18, 2019 showed $1,023,000 in
 7    liabilities that were classified as “contingent claims payable.”
 8           17.     In March, 2019, Acclaim took the judgment debtor exam of George, in his capacity
 9    as the representative of NBSC and otherwise threatened to begin collecting on its judgment. At that
10    point, while NBSC had significant liabilities, it continued to have significant tangible and intangible
11    assets, including accounts receivable, equipment, a leased premises with significant leasehold
12    improvements, licenses, certifications and accreditations from AAAHC, an NPI number, and a
13    relationship with the American College of Surgeons.
14           18.     In the spring of 2019, in order to protect the ongoing operations of the surgery center
15    from judgment collection by Acclaim, and mindful of the other “contingent claims payable,” George
16    and Lisa caused all the operations and the tangible and intangible assets of NBCS and SCNB to be
17    transferred to NMSSC and NSC and, thereafter and until April, 2021, the NMSSC and NSC,
18    ostensibly owned by Lisa and a partner, operated the surgery center. No consideration for this
19    transfer was paid to either NBCS or SCNB and, in fact, once the transfer had been accomplished,
20    money continued to flow between NMSSC, NSC, HBG Inc., George, and Lisa as if they collectively
21    constituted a common enterprise. However, the consequence of the transfer was that no assets were
22    thereafter available for execution by Acclaim and other judgment creditors.
23           19.     The transfer of the assets of NBSC and SCNB to NMSSC and NSC was made by
24    George and received by Lisa with the actual intent to hinder, delay, and defraud Acclaim and the
25    collection on the Acclaim Judgment against NBSC. The assets were transferred without NBSC and
26    SCNB receiving reasonably equivalent value and the transfers rendered them insolvent.
27
28




      COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT                        PAGE 4
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 1           20.     Acclaim did not become aware, nor in the exercise of reasonable diligence could it
 2    have become aware, that the assets of the surgery center had been transferred away from NBSC and
 3    SCNB until January, 2024.
 4           21.     The surgery center, now operated through NMSSC and NSC, continued to operate
 5    until April, 2021. At that point a transaction was entered into with an entity known as United
 6    Medical Doctors (“UMD”) and a Dr. John J. Hong (“Dr. Hong”). Ostensibly, the transaction
 7    involved a sale of all of the assets of HBG, Inc. to UMD for the sum of $150,000 and the sale of the
 8    Lisa’s ownership interest in NMSSC and NSC to Dr. Hong for the sum of $850,000. In fact, the sale
 9    of the assets of HBG, Inc. was a sham and George has continued to practice medicine and exercise
10    complete control over the medical practice that had at all times been conducted through HBG, Inc.,
11    and receive all of the benefits to be derived from therefrom down to the present. The purported sale
12    of the HBG, Inc. assets was solely for the purpose of accomplishing a transfer or termination of the
13    lease of the surgery center premises which was in the name of HBG, Inc. and guaranteed by George.
14    George and HBG, Inc. continue their medical practice at Suite 100, adjacent to the surgery center
15    rent-free, with the rent being paid by UMD.
16           22.     The agreement for the purchase of Lisa’s interest in NMSCC and NSC further
17    provided that the proceeds from the sale of the interests would be used to repay an alleged loan from
18    HBG, Inc. and George has further alleged that a term of the sale was that he would remain at the
19    surgery center as the medical director. In fact, there is no evidence that any such loan was repaid and
20    George did not sere as the medical director of the surgery center since the sale. In spite of the fact
21    that the surgery center remains adjacent to the HBG, Inc. offices, George has not performed
22    surgeries there since the sale.
23           23.     The reality of the transaction with UMD and Dr. Hong was that the surgery center,
24    inclusive of its assets and liabilities, was sold for $1,000,000. A $150,000 check from UMD was
25    paid to George and an $850,000 check was paid to Lisa. Plaintiff is informed and believes, and on
26    that basis alleges, that no consideration was paid to any other purported owner of NMSSC or NSC,
27    although the purchaser took control of these entities free and clear of any claim that such purported
28    owners could make.




      COMPLAINT OBJECTING TO DISCHARGE AND TO DISCHARGEABILITY OF PARTICULAR DEBT                         PAGE 5
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 1           24.     Plaintiff is informed and believes, and on that basis alleges, that what Dr. Hong and
 2    UMD were paying for was the value of the assets that had been transferred to NMSSC and NSC by
 3    NBSC and SCNB, but free of the latter entities’ liabilities, including the liability to Acclaim.
 4           25.     The proceeds of the sale to United Medical Doctors and Dr. Hong were placed in
 5    accounts largely controlled by Lisa but significant portions of them were used to make payments to
 6    or on behalf of George and HBG, Inc., and to pay the joint living expenses of George and Lisa.
 7           26.      George was duly served with orders obtained by Acclaim that he appear for a
 8    judgment debtor exam to be held first on April 21 and then on August 16, 2023, in his capacity as
 9    the representative of NBSC, and to produce documents in connection therewith. In order to conceal
10    his own property and that of Lisa, which consisted in part of the fraudulently conveyed assets of
11    NBSC, as well as of the existence of claims against him by creditors of NBSC, including alter ego
12    and fraudulent transfer claims that could be asserted against him and Lisa, George willfully failed to
13    appear for this examination or to produce any documents and, as a consequence, Acclaim was
14    hindered in its ability to collect on the Acclaim Judgment.
15           27.      On October 4, 2023, after the filing of a motion by Acclaim, the Acclaim Judgment
16    was amended to include George and HGB Inc. as judgment debtors, upon a showing that NMSSC
17    and NSC were mere successor entities to NBSC and SCNB. This amendment was subsequently
18    vacated after George and HGB Inc. alleged that they had not been properly served with the motion
19    papers. It was only in the motion to set aside the judgment that the George for the first time
20    disclosed that NBSC was no longer operating the surgery center and that the surgery had been sold.
21           28.     On March 24, 2024, the debtors filed the within bankruptcy proceeding. Highly
22    inaccurate and incomplete Schedules of Assets and Liabilities were filed soon therafter which failed
23    to identify any of the bank accounts that the debtors maintained as of the filing date or which they
24    had closed in the year prior to the filing. The Schedules and Statement of Affairs were later amended
25    but remained inaccurate and incomplete, and they listed only four bank accounts that they had at the
26    time of the bankruptcy filing.
27           29.     In spite of being in Chapter 11 and required to close his bank accounts, to put all of
28    his funds in a debtor-in-possession account, and to account for his cash flow in monthly operating




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 1    reports, George failed to close his pre-petition accounts. Down to the present, he has received all of
 2    his income and paid all of his personal expenses out of a pre-petition account or from an HGB, Inc.
 3    account for which he provides no accountings in the Monthly Operating Reports he files with the
 4    Court.
 5             30.   Upon a motion by Acclaim, the Bankruptcy Court issued an order which required the
 6    debtors, pursuant to Bankruptcy Rule 2004, to produce specified documents by September 4 and to
 7    appear to be examined on September 6, 2024. As stated in the motion, a particular focus was the
 8    production of documents and the provision of testimony that would account for the disposition of the
 9    $1,000,000 received in the April, 2021 sale of the surgery center. In fact, no documents were
10    produced on September 4 and only a small portion of the documents were produced the night before
11    the exam and in the middle of the exam of September 6. George testified on September 6 that, as of
12    the time of the examination, he himself had done nothing to comply with the Court’s order that he
13    produce documents.
14             31.   On September 6 Lisa falsely testified that she had had only a 51% interest in
15    NMSSC. She further testified that in 2022 she had transferred $100,000 to an entity identified as
16    Multi-Specialty Meetings, in which she had no interest and which she said was owned by a Dr. Lane
17    Smith, solely to conduct a continuing education seminar for unidentified doctors. She was unable to
18    explain what benefit she, George, or their businesses could derive from such an expenditure.
19    Plaintiff is informed and believes that the disposition of that $100,000 simply remains unexplained.
20    When asked about the disposition of $129,654 of the surgery center proceeds which she herself said
21    were still unspent as of January, 2023, she testified merely that they were exhausted by pre-petition
22    personal expenses.
23             32.   As such, both in the their testimony and their document production, the debtors failed
24    to adequately account for at least $229,654 of the surgery center sale proceeds. A further deadline of
25    September 18 was set for full compliance with the Court’s order that documents be produced and
26    additional documents, but by no means all of the documents, were produced on September 20. The
27    deadline for objecting to the debtors’ discharge and seeking a determination by Acclaim that its
28




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 1    claim would be non-dischargeable, which was originally June 24, 2024 was extended by court order
 2    to September 21 and then by stipulation and court order to October 5, 2024.
 3            33.     Notwithstanding their belated production of documents, the debtors have failed to
 4    provide testimony or produce documents that would adequately account for at least $229,654 of the
 5    surgery center sale proceeds.
 6            34.     The debtors, alerted by the questions and document requests at the Rule 2004
 7    examination, on September 30, 2024 filed a second amended Schedule of Assets and Liabilities and
 8    a Statement of Affairs that belatedly identified additional bank accounts.
 9                                     III.   FIRST CLAIM FOR RELIEF
10                         (Concealment of Property of the Estate Against Both Debtors)
11                                             (11 U.S.C. § 727 (a)(2))
12            35.     Plaintiff refers to and incorporates herein by reference the allegations of paragraphs 1
13    through 34 hereof.
14            36.     George, with the intent to the intent to hinder, delay, and defraud Acclaim, and to
15    conceal the right of Acclaim to pursue claims against him and his property, willfully failed to appear
16    for his Judgment Debtor Examination and to produce documents within one year before the date of
17    the filing of the petition herein.
18            37.     Both debtors, with the intent to hinder, delay, and defraud Acclaim, have concealed
19    assets of the estate post-petition, including bank deposits, post-petition cash flow, and the existence
20    of evidence in support of alter ego and fraudulent transfer claims against them.
21            38.     As a consequence of their concealment of assets, the debtors should have their
22    discharges denied pursuant to 11 U.S.C. § 727 (a)(2)(A) and (B).
23
24                                    IV.     SECOND CLAIM FOR RELIEF
25                  (Concealment and/or Failure to Preserve Documents Against Both Debtors)
26                                             (11 U.S.C. § 727 (a)(3))
27            39.     Plaintiff refers to and incorporates herein by reference the allegations of paragraphs 1
28    through 34 hereof.




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 1           40.     The debtors have concealed and/or failed to preserve documents from which their
 2    financial condition and business transactions can be ascertained in that they have concealed and/or
 3    failed to preserve records of the many bank accounts which they controlled both pre- and post-
 4    petition from which one could ascertain the nature and extent of their assets, and the disposition of at
 5    least $229,654 of the $1,000,000 in sales proceeds from the April, 2021 sale of the surgery center.
 6           41.     As a consequence of their concealment and/or failure to preserve documents, the
 7    debtors should have their discharges denied pursuant to 11 U.S.C. § 727 (a)(3).
 8
 9                                   V.       THIRD CLAIM FOR RELIEF
10                                        (False Oath Against Lisa Brennan)
11                                           (11 U.S.C. § 727 (a)(4)(A))
12           42.     The Trustee refers to and incorporates herein by reference the allegations of
13    paragraphs 1 through 34 hereof.
14           43.     Lisa Brennan made a false oath when she testified under oath at her Rule 2004
15    examination on September 6, 2024, that she was only a 51% owner of NMSSC, that she paid the
16    $100,000 to Multi-Specialty Meetings solely to conduct continuing education seminars, and that the
17    $129,654 of the surgery center sales proceeds she testified were still left in January, 2023, were
18    exhausted solely with personal expenses.
19           44.     As a consequence of her false testimony, Lisa Brennan should have her discharge
20    denied pursuant to 11 U.S.C. § 727 (a)(4)(A).
21
22                                 VI.       FOURTH CLAIM FOR RELIEF
23                       (Failure to Explain Deficiency of Assets Against Both Debtors)
24                                             (11 U.S.C. § 727 (a)(5))
25           45.     The Trustee refers to and incorporates herein by reference the allegations of
26    paragraphs 1 through 34 hereof.
27
28




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 1             46.   The Debtors have failed to explain satisfactorily, any loss of assets or deficiency of
 2    assets to meet their liabilities, including their failure to adequately account for the disposition of the
 3    $1,000,000 received for the sale of the surgery center.
 4             47.   As a consequence of their failure to satisfactorily explain their loss of assets or
 5    deficiency of assets to meet their liabilities, the debtors should have their discharges denied pursuant
 6    to 11 U.S.C. § 727 (a)(5).
 7
 8                                    VII.    FIFTH CLAIM FOR RELIEF
 9                                   (For Actual Fraud Against Both Debtors)
10                                           (11 U.S.C. § 523 (a)(2)(A))
11             48.   The Trustee refers to and incorporates herein by reference the allegations of
12    paragraphs 1 through 34 hereof.
13             49.   In effectuating the fraudulent transfer of the assets, with the specific intent of
14    hindering the collection of the Acclaim Judgment, the debtors hindered Acclaim by means of actual
15    fraud.
16             50.   As a consequence of the debtors’ actual fraud intended to hinder collection of the
17    Acclaim Judgment, Acclaim is entitled to a determination that its claims against the debtors are non-
18    dischargeable in the bankruptcy pursuant to 11 U.S.C. §523 (a)(2)(A).
19             51.   Acclaim is entitled to a money judgment against the debtors on the within claim for
20    relief equal to the amount of the Acclaim Judgment plus California statutory interest.
21
22                                    VIII. SIXTH CLAIM FOR RELIEF
23       (For Fraud and/or Defalcation While Acting in a Fiduciary Capacity Against George Brennan)
24                                            (11 U.S.C. § 523 (a)(4))
25             52.   The Trustee refers to and incorporates herein by reference the allegations of
26    paragraphs 1 through 34 hereof.
27             53.   As a consequence of the fact that he was the managing member of both NBSC and
28    SCNB in 2019, and that they were insolvent at that time, or would be rendered insolvent by a




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 1    transfer of substantially all of their assets, George owed a fiduciary duty not just to NBSC and
 2    SCNB but also to their creditors, including Acclaim. George violated that fiduciary duty, and was
 3    guilty of fraud and/or defalcation while acting in a fiduciary capacity, by making the fraudulent
 4    transfers to NMSSC and NSC.
 5              54.    As a consequence of the George’s fraud and defalcation while acting in a fiduciary
 6    capacity, Acclaim is entitled to a determination that its claims against the debtors are non-
 7    dischargeable in the bankruptcy pursuant to 11 U.S.C. §523 (a)(4).
 8              55.    Acclaim is entitled to a money judgment against George on the within claim for relief
 9    equal to the amount of the Acclaim Judgment plus California statutory interest.
10
11                                  IX.     SEVENTH CLAIM FOR RELIEF
12          (For Fraud and/or Defalcation While Acting in a Fiduciary Capacity Against George Brennan)
13                                            (11 U.S.C. § 523 (a)(4))
14              56.    The Trustee refers to and incorporates herein by reference the allegations of
15    paragraphs 1 through 34 hereof.
16              57.    As a consequence of the fact that he was the managing member of both NBSC and
17    SCNB in 2019, and that they were insolvent at that time, or would be rendered insolvent by a
18    transfer of substantially all of their assets, George owed a fiduciary duty not just to NBSC and
19    SCNB but also to their creditors, including Acclaim. George violated that fiduciary duty, and was
20    guilty of fraud and/or defalcation while acting in a fiduciary capacity, by making the fraudulent
21    transfers to NMSSC and NSC.
22              58.    As a consequence of the George’s fraud and defalcation while acting in a fiduciary
23    capacity, Acclaim is entitled to a determination that its claims against the debtors are non-
24    dischargeable in the bankruptcy pursuant to 11 U.S.C. §523 (a)(4).
25              59.    Acclaim is entitled to a money judgment against George on the within claim for relief
26    equal to the amount of the Acclaim Judgment plus California statutory interest.
27    ///
28    ///




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 1                                 X.      EIGHTH CLAIM FOR RELIEF
 2                          (Against Both Debtors For Willful and Malicious Injury)
 3                                           (11 U.S.C. § 523 (a)(6))
 4           60.     The Trustee refers to and incorporates herein by reference the allegations of
 5    paragraphs 1 through 34 hereof.
 6           61.     The aforedescribed acts of the debtors constituted willful and malicious injury by
 7    them to Acclaim. As such, Acclaim is entitled to a determination that its claims against the debtors
 8    are non-dischargeable in the bankruptcy pursuant to 11 U.S.C. §523 (a)(6).
 9           62.     Acclaim is entitled to a money judgment against the debtors on the within claim for
10    relief equal to the amount of the Acclaim Judgment plus California statutory post-judgment interest.
11
12                                          PRAYER FOR RELIEF
13           WHEREFORE, Plaintiff seeks judgment as follows:
14           1.      For an order denying the Debtors a discharge;
15           2.      For an order determining that claims of Plaintiff are non-dischargeable
16           3.      For a money judgment equal to the amount of the Acclaim Judgment plus California.
17    Statutory post-judgment interest.
18           4.      For costs of suit herein incurred; and
19           5.      For such other and further relief as the court may deem just and proper.
20
                                                 DUMAS & KIM, APC.
21
      Date: October 3, 2024
22
23                                               By:
                                                    James A. Dumas, Counsel for Plaintiff Acclaim
24
                                                    Recovery Management, LLC
25
26
27
28




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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

James A Dumas Jr
Dumas & Kim, APC.
915 Wilshire Blvd.
Suite 1775
Los Angeles, CA 90017
213−368−5000




Plaintiff or Attorney for Plaintiff

                                        UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA − SANTA ANA
In re:

                                                                              CASE NO.:    8:24−bk−10717−TA

Henry George Brennan and Lisa Anne Brennan                                    CHAPTER:     11


                                                                              ADVERSARY NUMBER: 8:24−ap−01130−TA
                                                               Debtor(s).

Acclaim Recovery Management, LLC.,


                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Henry George Brennan                                                                 PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)


TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
11/04/2024. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                January 9, 2025
             Time:                10:00 AM
             Hearing Judge:       Theodor Albert
             Location:            411 W Fourth St., Crtrm 5B, Santa Ana, CA 92701



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: October 4, 2024




                                                                                        By:        "s/" Glenda Deramus
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Acclaim Recovery Management, LLC.,                                           Henry George Brennan
                                                                             Lisa Ann Brennan




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:




A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004−1] and (2) the accompanying pleading(s) entitled:
__________________________________________________________________________________________________________
__________________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005−2(d); and (b) in the manner
stated below:

   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
   Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
   (date) _____________________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
   determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
   addresses stated below:




                                                                               Service information continued on attached page
   2. SERVED BY UNITED STATES MAIL: On (date) _____________________, I served the following persons and/or
   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
   copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
   Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after
   the document is filed.




                                                                               Service information continued on attached page
   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
   method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
   _____________________, I served the following persons and/or entities by personal delivery, overnight mail service,
   or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
   completed no later than 24 hours after the document is filed.




                                                                               Service information continued on attached page
   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

   _____________________________________________________________                                    _________________________________
   Date                   Printed Name                                                                 Signature

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    In re: Henry G. Brennan & Lisa A. Brennan (Acclaim Recovery v. Brennan)
                                                                                                   CHAPTER: 7

                                                                                                   CASE NUMBER: 8:24-bk-10717-TA
                                                                                      Debtor(s).
                                                                                                   ADV. CASE NUMBER: 8:24-ap-01130-TA



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 915
Wilshire Blvd., Ste. 1775, Los Angeles, CA 90017.
A true and correct copy of the foregoing document entitled (specify): Summons & Notice of Status Conference;
Adversary Proceeding Sheet; and Complaint Objecting to Discharge will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 9, 2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Arturo Cisneros (TR) amctrustee@mclaw.org, acisneros@iq7technology.com;ecf.alert+Cisneros@titlexi.com
James A Dumas jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                          Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) October 9, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

M. Candice Bryner, Outwater & Pinckes, LLP
900 Roosevelt
Irvine, CA 92620

Craig G Margulies, Margulies Faith LLP
16030 Ventura Blvd Ste 470
Encino, CA 91436

Henry George Brennan
42 Pine Valley Ln
Newport Beach, CA 92660

Lisa Anne Brennan
49950 Jefferson St Unite #13
PMB 397
Indio, CA 92201
                                                                            Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 9, 2024, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
M. Candice Bryner Email: candice@brynerlaw.com
Craig G Margulies Email: Craig@MarguliesFaithlaw.com
                                                                            Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  October 9, 2024            Danielle M. Landeros                               /s/ Danielle M. Landeros
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
